Detail Information Lookup
                Case 5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 1 of5:17-cv-1196
                                                                             21




  Case #2017CI16840
  Name: 

  Date Filed : 08/31/2017

  Case Status : PENDING

  Litigant Type : PLAINTIFF

  Court : 037

  Docket Type : OTHER CIVIL CASES

  Business Name : TEXAS NAME MERCANTILE INVESTMENT LLC

  Style : TEXAS NAME MERCANTILE INVESTMENT LLC

  Style (2) : vs CINCINNATI INSURANCE COMPANY




                                                                                              A
http://apps.bexar.org/Search/Details?r=a7e48394-2f65-4da8-8f02-12c55383ee4e&st=b&b=TEX...   11/17/2017
Detail Information Lookup
                Case 5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 2 of 21

  Case History
                                 Currently viewing 1 through 8 of 8 records

   Sequence         Date Filed        Description

  P00006            11/13/2017       ORIGINAL ANSWER OF
                                     CINCINNATI INSURANCE COMPANY

  S00002            10/18/2017       CITATION CERTIFIED MAIL
                                     CINCINNATI INSURANCE COMPANY
                                     ISSUED: 10/18/2017 RECEIVED: 10/18/2017
                                     EXECUTED: 10/23/2017 RETURNED: 10/25/2017

  P00005            10/13/2017       REQUEST FOR SERVICE AND PROCESS

  P00004            10/13/2017       SERVICE ASSIGNED TO CLERK 1

  S00001            9/13/2017        CITATION CERTIFIED MAIL
                                     CINCINNATI INSURANCE COMPANY
                                     ISSUED: 9/13/2017 RECEIVED: 9/13/2017
                                     EXECUTED: 9/18/2017 RETURNED: 9/21/2017

  P00003            8/31/2017        JURY FEE PAID

  P00002            8/31/2017        SERVICE ASSIGNED TO CLERK 3

  P00001            8/31/2017        PET FOR HAIL DAMAGE COMMERCIAL
                                     W/JD




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.. FILED                   Case   5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 3 of 21
   8/31/2017 11:29 PM
   Donna Kay McKinney                                                                   CIT CML W/JD/ S C1
   Bexar County District Clerk
   Accepted By: Nikki Garcia                                                                          1 ~~
                                          CAUSE NO.       20170116840
                TEXAS NAME MERCANTILE                           §                  IN THE DISTRICT COURT
                INVESTMENT,LLC,                                 §
                    Plaintiff,                                  §

                V.                                              §                   BEXAR COUNTY,TEXAS

                CINCINNATI INSURANCE COMPANY, §
                    Defendant.                §                                  37TH      DISTRICT COURT


                      PLAINTIFF'S ORIGINAL PETITION,JURY DEMAND,AND REQUEST FOR
                                               DISCLOSURE                   ~


                TO THE HONORABLE JUDGE OF SAID COURT:

                        COME NOW Texas Name Mercantile Investment, LLC,. Plaintiff herein, and files

                Plaintiffs Original Petition, Jury Demand, and Request for Disclosure, complaining of

                Cincinnati Insurance Company ("Cincinnati Insurance Company" or "Defendant") and for cause

                of action, Plaintiff respectfully shows the following:
                                                                                                             r.
                                               DISCOVERY CONTROL PLAN

                1.      Plaintiff intends to conduct discovery under Level 3, Texas Rules ofCivil Procedure 190.4

                        and 169.

                                                            PARTIES

                2.      Plaintiff, Texas Name Mercantile Investment, LLC, resides in Bexar County, Texas.

                3.      Defendant, Cincinnati Insurance Company, is a Texas insurance company engaged in the

                        business of insurance in the State of Texas. Plaintiff requests service of citation upon

                        Cincinnati Insurance Company through its registered agent, 1999 Brvan Street,Suite 900,

                        Dallas. Texas 75201. Plaintiff requests service at this time.




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                                            JURISDICTION

    4.     The Court hasjurisdiction over Cincinnati Insurance Company because Defendant engages

           in the business of insurance in the State of Texas, and the causes of action arise out of

           Cincinnati Insurance Company's business activities in the State of Texas, including those

           in Bexar County, Texas, with reference to this specific case.

                                                VENUE

    5.     Venue is proper in Bexar County, Texas because the insured property is located in Bexar

•          County,Texas,and all or a substantial part ofthe events giving rise to this lawsuit occurred

           in Bexar County, Texas. TEX. CIV. PRAC.&REM.CODE § 15.032.

                                                FACTS

    6.     Plaintiff asserts claims for fraud, breach of contract, violations ofsections 541 and 542 of

           the Texas Insurance Code, and violations ofthe Texas DTPA.                       '

    7.     Plaintiff owns a Cincinnati Insurance Company homeowner's insurance policy, number

           EPP0194821 ("the Policy"). At all relevant times, Plaintiff owned the insured premises

          located at 40 Northeast Loop 410 San Antonio, Texas 78216 ("the Property").

    8. ' Cincinnati Insurance Company or its agent sold the Policy, insuring the Property, to

          Plaintiff. Cincinnati Insurance Company represented to Plaintiff that the Policy included

          wind and hailstorm coverage for damage to Plaintiff's home. Cincinnati- Insurance

          Company has refused the.full extent of that coverage currently owed to Plaintiff.

    9.    On or about April 12, 2016, the Property sustained extensive damage resulting from a

          severe storm that passed through the Bexar County, Texas area.




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          Case 5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 5 of 21




    l0.   In the aftermath of the wind and hailstorm, Plaintiff submitted a claim to Cincinnati

          Insurance Company against the Policy         damage to the Property. Cincinnati Insurance

          Company assigned claim number 2835302 to~laintiffs claim.

    11.   Plaintiff asked Cincinnati Insurance Company to cover the cost of damage to the Property

          pursuant to the Policy.

    12.   Cincinnati Insurance Company assigned or hired its agent to adjust the claim.

    l3.   Cincinnati Insurance Company, through its agent, conducted a substandard and improper

          inspection and adjustment ofthe Property, which yielded grossly inaccurate and unrealistic

          assessments ofthe cause, extent, and dollar amount of damage to the Property.

~   l4.   Cincinnati Insurance Company hired or assigned its agents to inspect and adjust the claim.

          conducted an inspection. The agent's findings generated an estimate of damages totaling

          $78,682.86. After application of depreciation and deductible of$10,000 Plaintiff was left

          with $68,682.86 to make repairs on the entirety of their claim.

    15.   Cincinnati Insurance Company has ultimately refused full coverage which includes, but is

          not limited to, replacement of the roof and additional exterior damage. The third-party

          inspector hired to review the damage to the Property found $356,593.90 of damage to

          Plaintiffs roof. In addition, the third-party inspector found damage to the insulation, glass

          mat, cap flashing, flash parapet, roof drain, exhaust cap, air conditioning systems, curtain

          wall, and light pole.

    16.   The damage to Plaintiff's Property is currently estimated at approximately $4,000,000.00.

    17.   Since due demand was made on or about June 16, 2017, Cincinnati Insurance Company

          has not communicated that any future settlements or payments would be forthcoming to

          pay for the entire loss covered under the Policy, nor did it provide any explanation for

                                                   3
          Case 5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 6 of 21




          failing to settle Plaintiff's claim properly.

    18.   As stated above, Cincinnati Insurance Company failed to assess the claim thoroughly.
              V

          Based upon Cincinnati Insurance Company's grossly unreasonable, intentional, and

          reckless failure to investigate and adjust the claim properly, Cincinnati Insurance Company

          failed to provide full coverage due under the Policy.

y   19.   As a result of Cincinnati Insurance Company's failure to provide full coverage, along with

          Cincinnati Insurance Company's delay tactics to avoid reasonable payment to Plaintiff,

          Plaintiff has suffered damages.

    20.   Cincinnati Insurance Company failed to perform its contractual duties to Plaintiff under

          the terms ofthe Policy. Specifically, Cincinnati Insurance Company refused to pay the full

          proceeds ofthe Policy, although due demand was made for an amount sufficient to cover

          repairs to the damaged Property, and all conditions precedent to recover upon the Policy

          were accomplished by Plaintiff.

    21.   Defendant's misrepresentations, unreasonable delays, and continued denials constitute a

          breach of the statutory obligations under Chapters 541 and 542 of the Texas Insurance

          Code. Thus,the breach ofthe statutory duties constitutes the foundation ofa breach ofthe

          insurance contract between Cincinnati insurance Company and Plaintiff.

    22.   Cincinnati Insurance Company's conduct constitutes a violation of the Texas Insurance

          Code, Unfair Settlement Practices.        TEX. INS. CODE §541.060(a)(1).        Cincinnati
          Insurance Company has not attempted to settle Plaintiffs claim in a fair manner, even

          though Cincinnati Insurance Company was aware of their liability to Plaintiff under the

          Policy. Specifically, Cincinnati Insurance Company has failed .to timely pay Plaintiffls

          coverage due under the Policy.
                                                          r

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`       23.   Cincinnati Insurance Company's conduct constitutes a violation of the Texas Insurance

              Code, Unfair Settlement Practices. TEX. 1NS. CODE §541.060(a)(2)(A). Cincinnati

              Insurance Company failed to provide Plaintiff a reasonable explanation for not making the

              full payment under the terms of the Policy.

        24.   Cincinnati Insurance Company's conduct constitutes a violation of the Texas Insurance

              Code, Unfair Settlement Practices.       TEX. INS. CODE §541.060(a)(4).           Cincinnati

              Insurance Company refused to provide full coverage due to Plaintiff under the terms ofthe

              Policy. Specifically, Cincinnati Insurance Company, through its agents, servants, and

              representatives, performed an outcome-oriented investigation of Plaintiff's claim, which

              resulted in a biased, unfair, and inequitable evaluation of Plaintiffs losses on the Property.

        25.   Cincinnati Insurance Company's conduct constitutes a violation of the Texas Insurance

              Code, Prompt Payment of Claims. TEX.(NS. CODE §542.055. Cincinnati Insurance

              Company failed to reasonably accept or deny Plaintiff's full claim within the statutorily

    \         mandated time after receiving all necessary information. ~

        26.   Cincinnati Insurance Company's conduct constitutes a violation of the Texas Insurance

              Code, Prompt Payment of Claims. TEX. 1NS. CODE §542.056. Cincinnati Insurance

              Company failed to meet their obligations under the Texas Insurance Code regarding timely

              payment of the claim. Specifically, Cincinnati Insurance Company has delayed payment

              of Plaintiffs claim longer than allowed, and Plaintiff has not received full payment for

              their claim.

        27.   Defendant's wrongful acts and omissions forced Plaintiffto retain the professional services

              ofthe attorneys and law firm representing it with respect to these causes of action.
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                       CAUSES OF ACTION AGAINST DEFENDANT
                         CINCINNATI INSURANCE COMPANY

28.   All paragraphs from the fact section of this petition are hereby incorporated into this

      section.

                                BREACH OF CONTRACT

29.   Cincinnati Insurance Company is liable to Plaintiff for intentional violations ofthe Texas

      Insurance Code, and intentional breach of the common law duty of good faith and fair

      dealing. It follows, then, that the breach ofthe statutory duties constitutes the foundation

      of an intentional breach ofthe insurance contract between Cincinnati Insurance Company

      and Plaintiff.

30.   Cincinnati Insurance Company's failure and/or refusal to pay adequate coverage as

      obligated under the terms ofthe Policy, and under the laws ofthe State ofTexas,constitutes

      a breach ofthe insurance contract with Plaintiff.

            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                    UNFAIR SETTLEMENT PRACTICES

31.   Cincinnati Insurance Company's conduct constitutes multiple violations of the Texas

      Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All

      violations under this article are actionable by TEX. INS. CODE §541.151.

32.   Cincinnati Insurance Company's unfair settlement practice of misrepresenting to Plaintiff

      material facts relating to coverage constitutes an unfair method of competition and a

      deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(1).

33.   Cincinnati Insurance Company's unfair settlement practice of failing to attempt in good

      faith to make a prompt, fair, and equitable settlement of the claim, even though liability

      under the Policy was reasonably clear, constitutes an unfair method of competition and a

                                              6
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       deceptive act or practice in the business of insurance.              TEX. 1NS. CODE

       §541.060(a)(2)(A).

34.    Cincinnati Insurance Company's unfair settlement practice offailing to provide Plaintiffa

       prompt and reasonable explanation of the basis in the Policy, in relation to the facts or

       applicable law,for underpayment ofthe claim, constitutes an unfair method ofcompetition

       and a deceptive act or practice in the business of insurance.         TEX. INS. CODE

       §541.060(a)(3).

35.    Cincinnati Insurance Company's unfair settlement practice of failing within a reasonable

       time to affirm or deny coverage of the claim to Plaintiff constitutes an unfair method of

      /competition and a deceptive actor practice in the business ofinsurance. TEX.INS. CODE

       §541.060(a)(4).

36.    Cincinnati Insurance Company's unfair settlement practice of refusing to pay Plaintiff's

       claim without conducting a reasonable investigation constitutes an unfair method of

       competition and a deceptive act or practice in the business ofinsurance. TEX.INS. CODE

       §541.060(a)(7).


             NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                    THE PROMPT PAYMENT OF CLAIMS

37.    Cincinnati Insurance Company's conduct constitutes multiple violations of the Texas

       Insurance Code, Prompt Payment of Claims. All violations made under this article are

       actionable by TEX. INS. CODE §542.060.

38.    Cincinnati Insurance Company's failure to notify Plaintiff in writing of its acceptance or

       rejection of the full claim within the applicable time constraints constitutes anon-prompt

       payment in violation ofTEX. INS. CODE §542.056.

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39.    Cincinnati Insurance Company's delay in paying Plaintiff's claim following receipt of all

       items, statements, and forms reasonably requested and required, for longer than the amount

       of time provided, constitutes anon-prompt payment of the claim. TEX. INS. CODE

       §542.058.

           BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

40.    Cincinnati Insurance Company's conduct constitutes a breach ofthe common law duty of

       good faith and fair dealing owed to an insured in insurance contracts.

41.   Cincinnati Insurance Company's failure to adequately and reasonably investigate and

      evaluate Plaintiff's claim, although, at that time, Cincinnati Insurance Company knew or

      should have known by the exercise of reasonable diligence that liability was reasonably

      clear, constitutes a breach ofthe duty of good faith and fair dealing.

                                    DTPA VIOLATIONS

42.   Cincinnati Insurance Company's conduct constitutes multiple violations of the Texas

      Deceptive Trade Practices Act("DTPA"),TEX.BUS.& COM.CODE 17.41-63. Plaintiff

      is a consumer of goods and services provided by Cincinnati Insurance Company pursuant

      to the DTPA. Plaintiff has met all conditions precedent to bringing this cause of action

      against Farmers. Specifically, Cincinnati Insurance Company's violations of the DTPA

      include, without limitation, the following matters:

      A.      By its acts, omissions, failures, and conduct, Cincinnati Insurance Company has

              violated sections 17.46(b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA.

              Cincinnati Insurance Company's violations include without limitation, (1)

              unreasonable delays in the investigation, adjustment, and resolution of Plaintiffs

             claim,(2)failure to give Plaintiffthe benefit ofthe doubt, and (3)failure to pay for

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~         the proper repair ofPlaintiff's property when liability has become reasonably clear,

          which gives Plaintiff the right to recover under section 17.46(b)(2).

     B.   Cincinnati Insurance Company represented to Plaintiff that the Po{icy and

          Cincinnati Insurance Company's adjusting and investigative services had

          characteristics or benefits that they did not possess, which gives Plaintiff the right   .

          to recover under section l 7.46(b)(5) of the DTPA.

     C.   Cincinnati Insurance Company also represented to Plaintiff that the Policy and

          Cincinnati Insurance Company's adjusting services were of a particular standard,

          quality, or grade when they were of another, in violation of section 17.46(b)(7) of

          the DTPA.

     D.   Furthermore, Cincinnati Insurance Company advertised the Policy and adjusting

          services with the intent not to sell them as advertised, in violation of section

          17.46(b)(9) ofthe DTPA.

     E.   Cincinnati Insurance Company breached an express warranty that the damages

          caused by wind and hail would be covered under the Policy. This breach entitles

          Plaintiff to recover under sections 17.46(b)(12) and (20} and 17.50(a)(2) of the

          DTPA.

    F.    Cincinnati Insurance Company's actions are unconscionable in that Cincinnati

          Insurance Company took advantage of Plaintiffs lack of knowledge, ability, and

          experience to a grossly unfair degree.          Cincinnati Insurance Company's

          unconscionable conduct gives Plaintiffa right to relief under section 17.50(a)(3)of

          the DTPA; and




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       G.      Cincinnati Insurance Company's conduct, acts, omissions, and failures, as

               described in this petition, are unfair practices in the business of insurance in

               violation of section 17.50(a)(4) ofthe DTPA.

43.    Each oftheabove-described acts, omissions, and failures ofCincinnati Insurance Company

       is a producing cause of Plaintiff's damages. All of the above-described acts, omissions,

       and failures were committed "knowingly" and "intentionally," as defined by the Texas

       Deceptive Trade Practices Act.

                                                 FRAUD

44.    Cincinnati Insurance Company is Liable to Plaintifffor common law fraud.

45.    Each and every misrepresentation described above concerned material facts that absent

       such representations, Plaintiff would not have acted as it did, and Cincinnati Insurance

       Company knew its representations were false or made recklessly without any knowledge

       of their truth as a positive assertion.

46.    Cincinnati Insurance Company made the statements intending that Plaintiff act upon them.

       Plaintiff then acted in reliance upon the statements, thereby causing Plaintiff to suffer

       injury constituting common law fraud.

                                          KNOWLEDGE

47.    Defendant made each of the acts described above, together and singularly, "knowingly,"

      as defined in the Texas Insurance Code, and each was a producing cause of Plaintiffs

      damages described herein.




                                                  to
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                                  WAIVER AND ESTOPPEL

48.    Defendant waived and is estopped from asserting any coverage defenses, conditions,

       exclusions, or exceptions to coverage not contained in any reservation of rights letter to

       Plaintiff.

                                           DAMAGES

49.    Since the claim was made, Cincinnati Insurance Company has not properly compensated

       Plaintiff for all necessary repairs made, which are covered under the Policy. This has

       caused undue hardship and burden to Plaintiff. These damages are a direct result of

       Cincinnati Insurance Company's mishandling of Plaintiffs claim in violation of the laws

       set forth above.

50.    Defendant made the above and other false representations to Plaintiff, either knowingly or

       recklessly, as a positive assertion, without knowledge of the truth. Defendant made these

      false misrepresentations with the intent that Plaintiff act in accordance with the

       misrepresentations. Plaintiff then relied on these misrepresentations, including but not

      limited to those regarding coverage and the cause and scope of damage. Plaintiff suffered

      damages as a result.

51.   Plaintiff would show that all of the aforementioned acts, taken together or singularly,

      constitute the producing causes of damages sustained. The acts, omissions, failures, and

      conduct of Defendant has caused Plaintiff's damages, which include, without limitation,

      costs for all necessary repairs required to be made to Plaintiff's Property, and any

      investigative and engineering fees incurred.

52.   For breach of contract, Plaintiff is entitled to regain the benefit of its bargain, which is the

      amount of its claim, consequential damages, together with attorney's fees.

                                                 ~~
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53.    The damage to Plaintiffs Property is estimated at approximately $4,000,000.00.

54.    For noncompliance with the DTPA and Texas Insurance Code,Unfair Settlement Practices,

       Plaintiff is entitled to actual damages,~which include the loss ofthe benefits owed pursuant

       to the Policy, court costs, and attorney's fees. For knowing and intentional conduct ofthe

       acts described above, Plaintiff asks for three (3) times its actual damages. TEX. INS.

       CODE §541.152 and TEX. BUS.& COM.CODE 17.50(B)(1).

55.    For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is
                                                                                                      r
       entitled to the amount of its claim, plus an eighteen percent(18%) per annum penalty on

       that claim, as damages, as well as prejudgment interest and reasonable attorney's fees.

       TEX.INS. CODE §542.060.

56.    For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

       compensatory damages, including all forms of loss resulting from Defendant's breach of

       duty, such as additional costs, economic hardship, losses due to nonpayment of money

       Cincinnati Insurance Company owed, and exemplary damages.

57.    Defendant's breach ofthe common law duty of good faith and fair dealing was committed

       intentionally, with a conscious indifference to Plaintiffls rights and welfare, and with

      "malice," as that term is defined in Chapter 41 of the Texas Civi) Practices and Remedies

      Code. These violations are the type ofconduct which the State ofTexas protects its citizens

      against by the imposition of exemplary damages. Therefore, Plaintiff seeks the recovery

      of exemplary damages in an amount determined by the finder of fact sufficient to punish

      Defendant for its wrongful conduct and to set an example to deter Defendant and others

      from committing similar acts in the future.



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      Case 5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 15 of 21




58.    For fraud, Plaintiff is entitled to recover actual and exemplary damages for knowingly

       fraudulent and malicious representations, along with attorney's fees, interest, and court

       costs.

59.    For the prosecution and collection ofthis claim, Plaintiff has been compelled to engage the

       services of the attorneys subscribed to this pleading. Therefore, under Chapter 38 of the

       Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas Insurance

       Code, and section 17.50 of the DTPA, Plaintiff is entitled to recover a sum for the

       reasonable and necessary services ofPlaintiffs attorneys in the preparation and trial ofthis

       action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.

60.    As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiffs' counsel states

      that the damages sought are in an amount within the jurisdictional limits of this Court. As

      required by Rule 47(c)(5)ofthe Texas Rules ofCivil Procedure,Plaintiffs' counsel states that

      Plaintiffs seek only monetary relief in excess of $1,000,000.00, including damages of any

      kind, penalties, costs, expenses, prejudgment interest, and attorney fees. A jury will

      ultimately determine the monetary relief actually awarded, however. Plaintiffs also seek pre-

      judgment and postjudgment interest at the highest legal rate.

                              REQUESTS FOR DISCLOSURE

61.   Under Texas Rules ofCivil Procedure 190 and 194,Plaintiffrequests that Defendant disclose,

      within fifty(50)days from the date this request is served,the information or material described

      in Rules 190.2(b)(6) and 194.2.




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                                                            JURY DEMAND

                  62.     Plaintiff hereby requests a jury trial for all causes of action alleged herein, tried before a

                         jury consisting of citizens residing in Bexar County, Texas. Plaintiff hereby tenders the

                          appropriate jury fee.

                                                                PRAYER

                          Plaintiff prays that Defendant, Cincinnati Insurance Company, be cited and served to

                  appear, and that upon trial hereof, Plaintiff, Texas Name Mercantile Investment, LLC, have and

                  recover from Defendant, Cincinnati Insurance Company, such sums as would reasonably and

                  justly compensate Plaintiff in accordance with the rules of law and procedure, as to actual,

                  consequential, and treble damages under the Texas Insurance Code and Texas Deceptive Trade

                  Practices Act, and all punitive, additional, and exemplary damages, as may be found. In addition,

                  Plaintiff requests the award of attorney's fees for the trial and any appeal of this case, for all costs

                  of Court expended on Plaintiffs behalf, for prejudgment and postjudgment interest as allowed

                  by law; and for any other and further relief, at law or in equity, to which Plaintiff, Texas Name

                  Mercantile Investment, LLC, may show itselfjustly entitled.

                                                                         Respectfully submitted,

                                                                 CHAD T. WILSON LAW FIRM PLLC

.r ~ , ,.r~.-~~                                                          By: lsl Chad T. Wilson

                                                                         Chad T. Wilson
                                                                         Bar No. 24079587
                                                                         Patrick McGinnis
                                                                         Bar No. 13631900
                                                                         455 E. Medical Center Blvd., Suite 555
                                                                         Webster, Texas 77598
                                                                         Telephone:(832)415-1432
                                                                         Facsimile:(28l)940-2137


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              Case 5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 17 of 21




                                                 eService to:
                                                 eservicencwiIson law.com
                                                 cwiIson@cwilsonlaw.com
                                                 pmcginnis@cwilsonlaw.com

                                                 ATTORNEYS FOR PLAINTIFF




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                                Case Number: 2017•CI.16840
TEXAS NAME MERCANTILE INVESTMENT LLC
       vs.                                                                                                  IN THE DISTRICT COURT
                                                                                                             37th JUDICIAL DISTRICT
CINCINNATI INSURANCE COMPANY                                                                                BEXAR COUNTY,TEXAS
(Note: Attached document may contain additional litigants}.
                                                                   C~TATION


"THE STATE OF TEXAS"
DIRECTED T0:                    CINCINNATI INSURANCE COMPANY
                                C/0 NATIONAL REGISTERED AGENTS INC


                                1999 BRYAN ST 900
                                DALLAS TX 75201

"You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty days after you were served this CITATION and ORIGINAL PETITION ,JURY
DEMAND, AND REQUEST FOR DISCLOSURE, a default judgment may be taken against you." Said CITATION with ORIGINAL PETITION
,JURY QEMAND, AND REQUEST FOR DISCLOSURE was filed on the 31st day of August, 2017.



ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 18TH DAY OF October A.D., 2017.


CHAD T WILSON                                                                 ~~R~o
                                                                        vQ.'~ ~~~~ µE`     Donna Kay I~Kinney
ATTORNEY FOR PLAINTIFF                                                 ~°          `~,~    Bexar County District Clerk
455 E MEDICAL CENTER BLVD 555                                                ~ =~          101 W. Nueva, Suite 217
WEBSTER, TX 77598                                                                    a     San Antonio, Texas 78205

                                                                                           By: ~la~ria,~A6iCez, Deputy
TEXAS NAME MERCANTILE INVESTMENT LtC                                   ~                            Case Number: 2017-CI-16840
~S                                                               Officers Return                    Court: 37th Judicial District Court
CINCINNATI INSURANCE COMPANY



Came to hand on the 18th day of October 2017, A.D., at 4:26 o'clock P.M. and EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the
        day of                 20         by deilvering to:                                                   at 1999 BRYAN ST 900
DALLAS TX 75201 a true copy of this Citation, upon which I endorsed that date of delivery, together with the accompanying copy of the
CITATION with ORIGINAL PETITION ,JURY DEMAND, AND REQUEST FOR DISCLOSURE.

Cause of failure to execute this Citation is



                                                                                                                                   C
                                                                                           Donna Kay Ni°Kinney
                                                                                           Clerk of the District Courts of
                                                                                           Bexaz County, TX
                                                                                           By: ~YZaria,~A6iCez, Deputy


                                                                                                               ORIGI~~AL (DK003)
FILED
11/13/2017 9:56 AM        Case   5:17-cv-01196-XR Document 1-3 Filed 11/21/17 Page 19 of 21
Donna Kay McKinney
Bexar County District Clerk
Accepted By: Belinda Sanchez

                                                    CAUSE NO. 2017-CI-16840

              TEXAS NAME MERCANTILE                              §                      IN THE DISTRICT COURT
              INVESTMENT, LLC,                                   §
                   Plaintiff,                                    §
                                                                 §
              vs.                                                §                OF BEXAR COUNTY, TEXAS
                                                                 §
              CINCINNATI INSURANCE COMPANY,                      §
                   Defendant.                                    §                      37TH JUDICIAL DISTRICT

                                             DEFENDANT’S ORIGINAL ANSWER

                      Defendant Cincinnati Insurance Company (“Defendant”) files this Original Answer and

              would respectfully show the Court the following:

                                                                 I.

                                                       GENERAL DENIAL

                      1.1        Pursuant to Rule 92 of the Texas Rule of Civil Procedure, Defendant generally

              denies each and every, all and singular, the allegations contained within Plaintiff’s Original

              Petition and demands strict proof thereon by a preponderance of the credible evidence in

              accordance with the Constitution and laws of the State of Texas.

                                                                 II.

                                                  AFFIRMATIVE DEFENSES

                      2.1        Defendant pleads the following affirmative defenses.

                      2.2        Defendant denies any liability to Plaintiff for alleged common law or statutory

              extra-contractual claims. Defendant denies that it knew or should have known that it was

              reasonably clear that Plaintiff’s claim for alleged damages to the premises located at 40

              Northeast Loop 410, San Antonio, Texas 78216 was covered under the Policy.

                      2.3        Pleading alternatively, Defendant pleads that any award to Plaintiff of exemplary,

              additional, treble or punitive damages or penalties is limited pursuant to Texas Civil Practice and


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Remedies Code chapter 41 and Texas Insurance Code sections 541.152 and 542.060. Under the

facts of this case, however, an award of exemplary, additional, treble or punitive damages or

penalties consistent with the maximum awards permitted under these statutes would violate

Defendant’s State and Federal constitutional rights. Defendant affirmatively pleads that an

award of exemplary, additional, treble or punitive damages or penalties would violate the due

process and equal protection clauses of the United States and Texas Constitutions. Defendant

affirmatively pleads that an award of exemplary, additional, treble or punitive damages or

penalties would be both arbitrary and excessive in that (1) Texas procedure lacks adequate

safeguards in violation of the due process clauses of the United States and Texas Constitutions,

and (2) Defendant would not be afforded equal protection against extra-contractual damages that

would be limited or capped for others.

        2.4     By way of additional defense to Plaintiff’s claims of a breach of duty of good

faith and fair dealing and for violation of the Texas Insurance Code, Defendant asserts the

existence of a bona fide dispute. The existence of a bona fide dispute precludes Plaintiff from

recovering against Defendant on any extra-contractual claims as a matter of law.

                                               III.

                                            PRAYER

        3.1     WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take

nothing by this suit and that Defendant go hence with its costs, without delay.

                                             Respectfully submitted,

                                             /s/ Harrison H. Yoss
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                                            COUNSEL FOR DEFENDANT


                               CERTIFICATE OF SERVICE

       I certify that on November 13, 2017, a true and correct copy of the forgoing Defendant’s
Original Answer was delivered to the following counsel for Plaintiff by electronic service:

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                                            /s/Harrison H. Yoss
                                            Harrison H. Yoss




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